ANGELIA REAY - FEBRUARY 20, 2013

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Casa No. li-cv-01611-MSK-~-CBS
WESTERN CONVENIENCE STORES, INC., a Colorado
corporation, WESTERN TRUCK ONE, LLC, a Colorado
limited liability company,
Plaintiffs,
vB.
SUNCOR ENERGY (U.8,A.) INC., a Delaware corporation,
Defendant.
vB,

HOSSEIN AND DEBRA LYNN TARAGHI,

Third-Party Defendants.

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DEPOSITION OF ANGELIA REAY
February 20, 2013

(THIS TRANSCRIPT CONTAINS TESTIMONY DESIGNATED

CONFIDENTIAL)
Deposition location:
555-17th Street, Suite 3200
Denver, Colorado
APPEARANCES ;

KATHLEEN BR. CRAIGMILE, ESQ,
BENNINGTON JOHNSON BIERMANN &
CRAIGMILE, LLC

370-17th Street, Suite 3500
Denver, Colorado 80202

Fox the Plaintifgs,

 

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FEBRUARY 20,

2013

 

   
  
   
   
   
   
   
   
  
   

 

  

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Page 6 Page 8}
1 A. Yes. Yes. I believe it was March of 1 discussion, Hossein would come to me and say, okay,
2 2002. 2 this is what you're going to See, Steve's going to
3 Q. And from the e-mails that I've seen, 3 e-mail over the contract, we're going to get such
4 I've seen your title as Fuel and Transportation 4 amount off of OPIS rack or Suncor rack, whichever one
5 Manager, then they dropped the "and" and combined | 5 it was. So that's how it was.
6 you -- maybe this means they paid you less I don't 6 Q. Okay. And it could be either one,
7 know — into Fuel Transportation Manager. 7 either Suncor rack dealing with Suncor or OPIS rack
8 A. That is cortect. 8 average?
9 Q. ILassume your responsibilities didn't 9 A. Correct,
10 change although they shortened the title. 10 Q. And so J notice on a lot of the
11 A. That is correct. 11 contracts, and we have them in one of these binders,
12 Q. What were your responsibilities at 12 I think it's Exhibit 31, and I'm happy to show them,
13 Western? 13 youre listed as the quote, representative,
14 A. My main responsibility was running the 14 A. Correct,
15 trucks, overseeing the drivers, also talking with 15 Q. So is that — that's consistent with
16 suppliers for discounts of the fuel, and I also had 16 Mr. Taraghi telling you Steve and I have cut a deal,
17 two dispatchers under me and also had another gal in [17 he's going to send you the contract, and it was yours
18 accounting under me. 18 to administer. Is that fair?
19 Q. So-when you say you were talking with 19 A. That is correct,
20 supplicrs for discounts for fuel, in this case we've 20 Q. And did you have any involvement in
22 been using the word "discounts" two ways, you have to | 21 negotiating any of the contracts with Suncor up until
22 help me. 22 the time you left in ~
23 A. Okay. 23 A. No.
24 Q. One way we've been using the word 24 Q. ~~ 20097
25, "discount" is the contract price. Typically, for 25 A. No.
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2 example, the Western Convenience Suncor.coniract was | 1 Q. So they were just given to you asa

2 Suncor rack minus 4-1/2 cents or something like that. 2 done deal.

3 A. Correct. 3 A. That is correct,

4 Q, The minus 4-1/2 cents is what we call a 4 Q. Who were the other suppliers that

5 discount. 5 Western Convenience was buying from?

6 A, That's correct, 6 And let me make it easier on you if 1

7 Q. In addition there's an off contract 7 can—

8 discount, which Pve been calling a special discount 8 A. Okay.

9 oranoffcontract discount. That is, it's in 9 Q. ~—Mrs. Reay, Let me just work from
10° addition to what your contract price would be. 10 2007 forward, if you can use that division in your
iL A. That is correct. 11 head,

12 Q. So do you understand discounts to have 12 A, Okay.
13 those two meanings? 13 . It may not be easy, I understand,

[34 A. Yes, yes, 14 but—
15 Q. So when you were talking with suppliers 15 A, Okay.
16 about discounts, which discount, or maybe both, were 16 Q. Would it be easier if we work
17 you talking about? 17 backwards? Would it be easier if we started with
18 A. Well, with -- I want to -- with other 18 2009? What's easier for you?
19 suppliers it was just, say, OPIS rack minus 3-12 19 A. Well, Ican tell you what suppliers we
20 cents. With Suncor it was different because it was 20 used, but off the top of my head I can't tell you
21 different contracts, if! remember correctly, going 21 what kind of deals we received.
22 on. 22 Q. That's okay,
23 You know, I really wasn't in the room 23 A. Unless it was in front of me, you know.
24 when Steve Moss would come in and negotiate with 24 Q. Go ahead.
25 Hossein about what it would be. After the did their mee ea

3 “(Pages | 6 to 9)
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